






	









IN THE COURT OF CRIMINAL APPEALS


OF TEXAS






NO. 74,887






EX PARTE CURTIS JAMES WILKERSON, Applicant






ON APPLICATION FOR A WRIT OF HABEAS CORPUS


FROM GRIMES COUNTY






	Per Curiam.


O P I N I O N 




	This is a post-conviction application for a writ of habeas corpus forwarded to this Court
pursuant to Article 11.07, § 3, et seq., V.A.C.C.P.  Applicant was convicted of the felony
offense of aggravated robbery, and punishment was assessed at fifty years confinement. 
Applicant's direct appeal was dismissed for want of jurisdiction because the notice of appeal
was untimely filed.  Wilkerson v. State, No. 01-00-00226-CR (Tex. App.--Houston[1st.
Dist.]2000, no pet.).

	Applicant contends that he was denied a meaningful appeal through no fault of his own. 
Following an evidentiary hearing in the matter, the trial court entered findings of fact and
conclusions of law recommending that Applicant be granted an out-of-time appeal.  We agree. 

	Habeas corpus relief is granted and Applicant is granted an out-of-time appeal from his
conviction in cause number 14,085 from the 278th District Court of Grimes County.  The
proper remedy in a case such as this is to return Applicant to the point at which he can give
notice of appeal.  For purposes of the Texas Rules of Appellate Procedure, all time limits shall
be calculated as if the conviction had been entered on the day that the mandate of this Court
issues.  We hold that Applicant, should he desire to prosecute an appeal, must take affirmative
steps to see that notice of appeal is given within thirty days after the mandate of this Court has
issued.

	

DO NOT PUBLISH

DELIVERED: February 4, 2004


